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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              Case No. 18-cv-24791-WILLIAMS

  BRICKELL EAST CONDOMINIUM ASSOCIATION, INC.,

          Plaintiff,

  vs.

  INDIAN HARBOR INSURANCE COMPANY

          Defendant.
                                            /

                                            ORDER

          THIS MATTER is before the Court on Magistrate Judge Edwin G. Torres’ report

  and recommendation on ACLE’s motion for fees and costs pursuant to a charging lien

  (the “Report”). (DE 39). In the Report, Judge Torres recommended that ACLE’s motion

  be GRANTED IN PART. Accordingly, upon an independent review of the Report, the

  objection, the record, and applicable case law, it is ORDERED AND ADJUDGED as

  follows:

          1. The Report (DE 39) is AFFIRMED AND ADOPTED.

          2. ACLE’s motion for attorney’s fees and costs (DE 36) is GRANTED IN PART.

              ACLE is entitled to recover $64,244 in attorneys’ fees and $43,675.52 in

              costs, for a total fee and cost award of $107,919.52.

          3. This case remains CLOSED.

        DONE AND ORDERED in Chambers in Miami, Florida, this 16th day of June, 2020.
